                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                                  Chapter 11
In re:
                                                                  Case No. 17-12560 (JKS)
WOODBRIDGE GROUP OF COMPANIES, LLC,
et al.,1                                                          (Jointly Administered)

                                  Remaining Debtors.


             NOTICE OF RESCHEDULED OMNIBUS HEARING DATE FROM
                  JUNE 28, 2022 AT 11:00 A.M. (EASTERN TIME) TO
                     JULY 6, 2022 AT 2:30 P.M. (EASTERN TIME)

                 PLEASE TAKE NOTICE that the omnibus hearing scheduled for June 28, 2022

at 11:00 a.m. prevailing Eastern Time (the “June 28th Hearing”) has been rescheduled to

July 6, 2022 at 2:30 p.m. prevailing Eastern Time (the “July 6th Hearing”) before the

Honorable J. Kate Stickles, United States Bankruptcy Court Judge, at the United States

Bankruptcy Court for the District of Delaware, 824 Market Street, 3rd Floor, Courtroom No. 7,

Wilmington, Delaware 19801.

                 PLEASE TAKE FURTHER NOTICE that all matters scheduled for the

June 28th Hearing will be heard at the July 6th Hearing.




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    The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as
    follows: Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC
    (0172). The Remaining Debtors’ mailing address is 14140 Ventura Boulevard #302, Sherman Oaks, California
    91423.


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 Dated:     June 3, 2022           /s/ Colin R. Robinson
            Wilmington, Delaware   PACHULSKI STANG ZIEHL & JONES LLP
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                                   Andrew W. Caine (CA Bar No. 110345)
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                                   -and-

                                   KTBS LAW LLP (f/k/a Klee, Tuchin, Bogdanoff & Stern LLP)
                                   Kenneth N. Klee (pro hac vice)
                                   Michael L. Tuchin (pro hac vice)
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